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             AGE          IN THE DISTRICT COURT OF THE MIDDLE

                          STATES FOR THE MIDDLE nISTRICT OF

                          ALABAMA/NORTHERN DISTRICT
                                                                                    50

RODNEY LEE MAJOR,SR.,24775B

            plaintiff,

v.

                                                      CIVIL   ACTION   NO.2:19-CV-273-
WALTER MYtRS,et al.,
csc                                                   CSC
          DEFENDANTS.




                                 MOTION FOR APPOINTMENT OF COUNSEL
                           014




PURSUANT TO 28 U.S.C.§1915(e(1)plaintiffmoves for an'order appointing

counsel to represent him in this case.In support of this motion,plaintiff

states:

1.Plaintiff is unable to afford counsel.he has requested leave to proceed in

forma pauperis.
2.PLAINTIFFs imprisonment will           greatly limit his ability to litigate.The
issues    involved   in   this case      are complex, and will   require significant
research and investigation.Plaintiff has limited knowlede of tha law.

HON.JUDGE Charles S.Coody,on Oct,3 2019 you ORDERED the defendants to file

with the court and myself the plaintiff certified copies of my mental health

recordson or before October 24, 2019.HON.JUDGE COODY,as you can see for your

self upon studying thoes files and notes,I had been warning administration

and counselors about my safety concerns and identified (4)ADOC officers and

staff as potential threats to my physical safety.In           which    i   was   ignored,
HON.JUDGE COODY,I HAVE RECENTLY BEEN TRANSFERED AGAIN TO MY FORTH PRISON

SINCE THE INCIDENT.I HAVE BEEN LIED ON            AND llADLY BEATEN AGAIN AT STATON
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                                                                              PAGE2 of2

CORRECTIONAL FACILITY DUE TO RETAILIATION, FOR ME EXPOSING THE INCIDENT THAT

HAPPENED   AT EASTERLING.(see inmate body chart defendants EXHIBITX)partIV

Page8of40/pg4of4l/PartITTpg40of42/p 16of42/pg34of42/pg32of42.

 n closing HON.JUDGE,I am a mental heatth inmate,currently on Psychotropic

Meds, in which caues's me to feel very drowsey and not able to litigate this

case for my self.HON.JUDGE GOODY TRUTHFULLY I HAVE DONE THIS MOTION MYSELF

BECAUSE I HAVE NO HELP AND THE GREAT POWERS IM UP AGAISNT KNOWS THIS SO THEY

ARE 60ING ALL THEY CAN TO HINDER THIS COURT FROM LEARNING THE TRUTH..



S.A   TRIAL   IN   THIS CASE WILL LIKELY INVOLVE         CONFLICTING TESTOMONY, AND

COUNSEL WOULD BETTER ENABLE PLAINTIFF TO PRESENT EVIDENCE AND CROSS EXAMINE

WITTNESSES.

4.PLAINTIFF HAS MADE REPEATED EFFORTS TO OBTAIN A LAWYER.(seemotion filed by

plaintiff for appointment of counsel to this court on April 15,2019)
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